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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                  12/27/2021
------------------------------------------------------------X
JAENEAN LIGON, et al.,

                          Plaintiffs,                            12-cv-2274 (AT)

        - against -

CITY OF NEW YORK, et al.,

                           Defendants.
-------------------------------------------------------------X
KELTON DAVIS, et al.,

                          Plaintiffs,                            10-cv-0699 (AT)

        - against -

THE CITY OF NEW YORK and NEW YORK
CITY HOUSING AUTHORITY,

                           Defendants.
-------------------------------------------------------------X
DAVID FLOYD, et al.,

                          Plaintiffs,                            08-cv-1034 (AT)

        - against -

CITY OF NEW YORK,

                          Defendant.

-------------------------------------------------------------X

                                               ORDER

        WHEREAS, Plaintiffs filed a motion to compel and the Monitor filed a motion to

  seal, see Ligon v. City of New York, 12-cv-2274 (AT), ECF Nos. 461 and 466; Davis v.

City of New York, 10-cv-0699, ECF Nos. 566 and 562; and Floyd v. City of New York,

08-cv-1034 (AT), ECF Nos. 819 and 824;
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        WHEREAS, the Court granted the motion to seal and denied the motion to compel

on July 30, 2021, see Ligon, 12-cv-2274, ECF No. 482; Davis, 10-cv-0699, ECF No. 582;

and Floyd, 08-cv-1034, ECF No. 844;

        WHEREAS, Plaintiffs appealed that order asserting it was improper under the

First Amendment and common law right of access;

        WHEREAS, the parties and the Monitor have reached an agreement that would

resolve Plaintiffs’ motion to compel and wish to resolve the appeal; and

         WHEREAS, on such resolution, Plaintiffs have agreed to withdraw the request in

        their motion to compel and the Monitor has agreed to withdraw the request to seal;

        ACCORDINGLY, the motion to compel and the motion to seal are deemed

withdrawn and the Court orders that the July 30, 2021 order is vacated as moot and

Plaintiffs’ and the Monitor’s submissions at Ligon, 12-cv-2274, ECF Nos. 462, 466, 473,

479, and 480; Davis, 10-cv-0699, ECF Nos. 557, 562, 567, 574, and 576; and Floyd, 08-

cv-1034, ECF Nos. 820, 824, 829, 836, and 838 shall continue to be sealed on the ground

that Plaintiffs and the Monitor have withdrawn their respective requests for relief such

that the motions are no longer pending before the Court, and the dispute has been resolved

outside of court, and Plaintiffs and the Monitor have stipulated that sealing the now-

withdrawn motions and each of the related submissions appropriately balances the rights

and interests at stake.

        SO ORDERED.

Dated: December 27, 2021
       New York, New York
